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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

TRENA OSTERMANN, individually, and
as next of friend of JOHN OSTERMANN,
JR., KYLE OSTERMANN, and CURTIS
OSTERMANN; and DANIEL
WALLACE,

 

Plaintiffs,
VS. NO. l-04-1185-T/An

DURLEY GENE JOHNSTONE,
individually and d/b/a ROLLING ACRES
MOBILE ESTATES and RUTH
COLLINS, individually and as agent
and/or manager for DURLEY GENE
JOHNSTONE, d/b/a ROLLTNG ACRES
MOBILE ESTATES,

Defendants.

 

CONSENT ORDER OF DISMISSAL WITH PREJUDICE

 

IT APPEARING to the Court from statement of counsel and the record as a whole that
the issues herein are resolved and the matter should be dismissed With prejudice

IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED by the Court that this
matter be and it is hereby ordered dismissed With prejudice and that the non-discretionary costs

of the cause are assessed against the Det`endants for Which execution may issue if necessary

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This document entered on the docket sheet in compliance
with Hule 58 and,'or_79 (a) FRCP on g g 2 ¢22§

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APPROVED FOR ENTRY:

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UNITED DISTRICT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 1:04-CV-01185 Was distributed by faX, mail, or direct printing on
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Honorable .l ames Todd
US DISTRICT COURT

